       Case 1:24-cv-10049-LJL         Document 430        Filed 07/16/25      Page 1 of 1
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July 16, 2025

VIA ECF

The Honorable Lewis J. Liman
United States District Court, Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:      Lively v. Wayfarer Studios LLC et al., No. 24-cv-10049 (LJL)

Dear Judge Liman:

       Plaintiff Blake Lively writes to respectfully advise the Court that, following today’s
emergency hearing, counsel for the parties met and conferred and mutually agreed that, in light of
the Court’s order dismissing the Wallace Parties and Ms. Lively’s right to amend the complaint on
or before July 30, 2025, Ms. Lively’s deposition will be continued until July 31, 2025.


                                                   Respectfully submitted,

                                                   /s/ Esra A. Hudson

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